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                                                                                    United States District Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                             UNITED STATES DISTRICT COURT                            December 04, 2019
                              SOUTHERN DISTRICT OF TEXAS                              David J. Bradley, Clerk
                                  HOUSTON DIVISION

COUNTY OF ANGELINA,                              §
                                                 §
        Plaintiff,                               §
VS.                                              §     CIVIL ACTION NO. 4:19-CV-03590
                                                 §
ALLERGAN PLC, et al,                             §
                                                 §
        Defendants.                              §


                                            ORDER

       Pending before the Court is the Motion by CVS Health Corporation (“CVS”) and

McKesson Corporation (“McKesson”) for a Temporary Stay Pending Likely Transfer to

Multidistrict Litigation (Dkt. No. 6). The Court GRANTS the motion for a Temporary Stay

Pending Likely Transfer to Multidistrict Litigation.

       It is, hereby ORDERED that the Motion for Temporary Stay is GRANTED until the

Judicial Panel on Multidistrict Litigation issues a decision on whether to transfer this action to

the Opiate Multidistrict Litigation pending in the Northern District of Ohio, In Re: Nat’l

Prescription Opiate Litig., No. 1:17-md-02804 (Polster, J.). Hence, the motion to remand (Dkt.

No. 5) is Denied.

       It is so ORDERED.

       SIGNED on this 2nd day of December, 2019.


                                                 ___________________________________
                                                 Kenneth M. Hoyt
                                                 United States District Judge




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